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                                 United States District Court
                                           for the
                                 Southern District of Florida

      Jiangmen Benlida Printed Circuit        )
      Co., Ltd., Plaintiff,                   )
                                              )
      v.                                      ) Civil Action No. 21-60125-Civ-Scola
                                              )
      Circuitronix, LLC, Defendant.           )

                             Third Amended Scheduling Order
         Absent a bona fide emergency, no further extensions in this case will
  be considered. Upon the agreement of the parties, the Court grants Defendant
  Circuitronix, LLC’s motion for limited extensions of the discovery and
  dispositive-motion deadlines set forth in the Court’s recently entered second
  amended scheduling order (ECF No. 152).
         Accordingly, this case remains set for trial during the two-week trial
  period beginning on October 10, 2023. Calendar call will be held at 9:00 a.m.
  on the preceding Tuesday, October 3, 2023, at the Wilkie D. Ferguson, Jr.
  United States Courthouse, 400 N. Miami Avenue, Courtroom 12-3, Miami,
  Florida. A pretrial conference will be held immediately following calendar call
  only if requested by the parties in advance.
           1. The parties must comply with the following schedule:

             passed      Deadline to join additional parties or to amend pleadings.
           completed
                         Deadline to file joint interim status report.
           (untimely)
           completed
                         Deadline to file Proposed Order Scheduling Mediation.
           (untimely)
                         Deadline to complete all fact discovery. 1
       June 8, 2023      Deadline to submit joint notice indicating whether the parties
        (extended)       consent to jurisdiction before the designated magistrate judge
                         for purposes of final disposition.



  1To the extent the parties are in agreement about the need for further discovery,
  beyond the discovery deadline, they may stipulate, between themselves, to conduct
  discovery out of time. Nothing prevents them from doing so—as provided for by Rule
  29. They do so, however, at their peril: that is, the parties are free to agree on
  supplemental discovery, all the way up to trial, but with the understanding that,
  ordinarily, Court intervention will be unavailable in the event of a dispute.
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                     Deadline to exchange expert witness summaries/reports
                     pursuant to Federal Rule of Civil Procedure 26(a)(2). Rebuttal
                     disclosures are permitted, and must conform to the deadline
                     set forth in Federal Rule of Civil Procedure 26(a)(2)(D)(ii).
                     (When a treating physician testifies regarding opinions formed and
                     based upon observations made during the course of treatment, the
                     treating physician need not produce a Rule 26(a)(2)(B) report. By
                     contrast, treating physicians offering opinions beyond those arising
                     from treatment are experts from whom full Rule 26(a)(2)(B) reports
                     are required. See, Muzaffarr v. Ross Dress for Less, Inc., No. 12-
                     61996-CIV, 2013 WL 3850848, at *1 (S.D. Fla. July 26, 2013).)
     June 9, 2023
                     Deadline for the filing of all dispositive motions.
      (extended)
      completed      Deadline to complete mediation.
    July 20, 2023
    (same as ECF
                     Deadline to complete all expert discovery.
       No. 151)

    August 8, 2023
                     Deadline for the filing of pretrial motions, including motions in
     (same as ECF
        No. 151)
                     limine and Daubert motions.
    September 12,
                     Deadline to file joint pretrial stipulation under Local Rule
         2023
                     16.1(e) and pretrial disclosures as required by Federal Rule of
     (same as ECF
        No. 151)     Civil Procedure 26(a)(3).

    September 26,    Deadline to file proposed jury instructions (if the matter is set
        2023         for a jury trial) or proposed findings of fact and conclusions of
    (same as ECF     law (if the matter is set for a bench trial) consistent with Local
       No. 151)      Rule 16.1(k).

      2. References to documents in summary-judgment motions. When a party
  files a motion for summary judgment, the party must include the ECF number
  of any exhibits or other documents referred to in the motion or the
  accompanying statement of material facts (required by Local Rule 56.1). This
  means that if a document is not already on the record, a party will need to
  submit a Notice of Filing before he or she files the summary-judgment motion
  and the statement of material facts.
      3. Limit on motions in limine & Daubert motions. Each party is limited to
  filing one motion in limine and one Daubert motion. If a party cannot address
  his or her evidentiary issues or expert challenges in a 20-page motion, leave to
  exceed the page limitation will be granted upon a showing of good cause. The
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  parties are reminded that motions in limine and Daubert motions must contain
  the Local Rule 7.1(a)(3) pre-filing conference and certification.
     4. Jury Instructions. The parties must submit their proposed jury
  instructions jointly, though they need not agree on each proposed instruction.
  Where both parties agree on a proposed instruction, that instruction must be
  set out in regular typeface. Instructions proposed only by a plaintiff must be
  underlined. Instructions proposed only by a defendant must be bold-faced.
  Every instruction must be supported by a citation of authority. The parties
  should use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
  Cases, including the directions to counsel, or the applicable state pattern jury
  instructions. The parties must jointly file their proposed jury instructions via
  CM/ECF, and must also submit their proposed jury instructions to the Court
  via e-mail at scola@flsd.uscourts.gov in Word format (.doc).
     5. Trial Exhibits. All trial exhibits must be pre-marked. Plaintiff’s exhibits
  must be marked numerically with the letter “P” as a prefix. Defendant’s
  exhibits must be marked alphabetically with the letter “D” as a prefix. A list
  setting out all exhibits must be submitted at the time of trial. This list must
  indicate the pre-marked identification label (e.g., P-1, or D-A) and must also
  include a brief description of the exhibit.
     6. Deposition Designations. Any party intending to use deposition
  testimony as substantive evidence must designate by line and page reference
  those portions in writing. The designations must be served on opposing counsel
  and filed with the Court 14 days before the deadline to file the joint pretrial
  stipulation. The adverse party must serve and file any objections and any
  cross-designations within seven days. The initial party then has seven days to
  serve and file objections to the cross-designations.
     7. Voir Dire Questions. The Court will require each prospective juror to
  complete a brief written questionnaire prior to the commencement of
  questioning in the courtroom. Any party may submit up to five proposed, case-
  specific questions to be included in the questionnaire. The proposed questions
  must be filed with the Court at the time of the filing of the joint pretrial
  stipulation, and must also be submitted to the Court via e-mail at
  scola@flsd.uscourts.gov in Word format (.doc).
     8. Notification of juror misconduct. Every party has an affirmative duty to
  notify the Court immediately of any possible juror misconduct or any
  information that might possibly reflect on a juror’s ability to serve. Immediate
  notification is required to allow the Court the opportunity to address the issue,
  including questioning the juror and, if necessary, discharging the juror and
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  seating an alternate juror. In any trial lasting more than five days, the Court
  imposes an affirmative duty on both sides to conduct all reasonable
  investigations of juror misconduct, including statements provided during voir
  dire, and to advise the Court immediately of any discovered misconduct. Any
  party who fails to conduct a reasonable investigation in this situation and later
  discovers an incidence of juror misconduct has waived his, her, or its right to
  rely on that misconduct in a motion before this Court.
      9. Settlement Conference Before Magistrate Judge. The parties may, at any
  time, file a motion requesting a settlement conference before United States
  Magistrate Judge Jonathan Goodman. The Court encourages the parties to
  consider a confidential settlement conference with Judge Goodman, especially
  if the parties believe there is a meaningful chance of reaching an early,
  amicable resolution of their dispute.
     10.       Settlement Notification. If this matter is settled, counsel are
  directed to inform the Court promptly via telephone (305-523-5140) and/or e-
  mail (scola@flsd.uscourts.gov).
        Done and ordered at Miami, Florida on April 10, 2023.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
